Case 8:03-cr-00363-SDM-TBM Document 56 Filed 05/03/05 Page 1 of 2 PageID 192




UNITED STATES OF AMERICA

                                          Case No.   8:03-cr-363-T-23MSS

CRYSTAL GREEN



                                     ORDER

      This cause came on for consideration of Defendant's pro se

motion entitled "Motion Asking the Honorable Courts for a Sentence

Reduction."

      On May 3 , 2004, the Court sentenced Defendant to a term of

imprisonment of thirty-seven (37) months. The Court recommended to

the Bureau of Prisons that,     "   [i]f the Defendant qualifies, that she

be placed into a boot camp program; also that the defendant be

placed in the 500 hour intensive drug treatment program while

 incarcerated."    The successful completion of these programs may

 reduced a defendant's sentence.

      Defendant now seeks a reduction in sentence. Defendant states

 that the Bureau of Prisons recently discontinued the boot camp

program and that the 500 hour residential drug treatment program is

 "way behind." Defendant therefore argues that she will not be able

 to participate in either program, and, therefore, will not be able

 to receive a reduction in her sentence.
Case 8:03-cr-00363-SDM-TBM Document 56 Filed 05/03/05 Page 2 of 2 PageID 193



      The Government objects to Defendant's request for a reduction

in sentence. The Government correctly argues that the Court lacks
jurisdiction and authority to award the relief Defendant seeks. As

such, Defendant's motion must be denied.

      It is ORDERED that:

       (1) Defendant's pro se motion entitled "Motion Asking the

Honorable Courts for a Sentence Reduction" is DENIED.

      DONE and ORDERED in




Copies furnished to:

    United States Attorney
    United States Probation Office
    Defendant
